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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK


 MICHAEL VISCARDI, individually and on              Case No.
 behalf of all others similarly situated,
                                                    COMPLAINT - CLASS ACTION
                        Plaintiff,
        v.
                                                    JURY TRIAL DEMANDED
 GOVERNMENT EMPLOYEES
 INSURANCE COMPANY d/b/a GEICO,
 GEICO CASUALTY COMPANY, and
 GEICO GENERAL INSURANCE
 COMPANY,

                       Defendants.



       Plaintiff Michael Viscardi (“Plaintiff”) individually and on behalf of all others similarly
 situated, upon personal knowledge of facts pertaining to himself and on information and belief as
 to all other matters, by and through undersigned counsel, brings this Class Action Complaint
 against Defendants Government Employees Insurance Company d/b/a GEICO, GEICO Casualty
 Company, and GEICO General Insurance Company (collectively, “GEICO” or “Defendants”).
                                     NATURE OF THE ACTION
        1.     Plaintiff brings this class action on behalf of himself and all other individuals
 (“Class Members”) who had their sensitive personal identifying information—here, customers’
 and other consumers’ highly sensitive driver’s license numbers—disclosed to unauthorized third
 parties during a data breach compromising GEICO’s online sales system (the “Data Breach”).
        2.     GEICO writes private passenger automobile insurance policies, offering coverages
 to insureds in all 50 states and the District of Columbia.1 It markets its policies mainly by direct
 response methods where most customers apply for coverage directly to the company via the
 internet or over the telephone.


 1
  U.S. SEC. AND EXCH. COMM’N, FORM 10-K (Dec. 31, 2019),
 https://www.berkshirehathaway.com/2019ar/201910-k.pdf (last visited May 6, 2021).

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        3.     GEICO collects vast amounts of personal information and sensitive data from
 prospective clients, current and former customers, and other consumers in connection with

 issuing insurance policies to consumers and during the insurance claims process. In order to
 utilize the services provided by GEICO, customers must provide sensitive personal information.
 For example, “during the quoting, application, or claims handling processes,” GEICO obtains an
 individual’s “Name, Address, Phone number, Social Security number, Driver’s license number,
 Date of birth,”2 among other sensitive personal information. On information and belief, during
 the insurance claims process, GEICO also requires submission of similar personal information in
 connection with processing claims, including from individuals who are not necessarily GEICO
 policyholders.
        4.     GEICO promises it will restrict access to nonpublic personal information to those
 individuals and entities who need to know that information to provide products or services.3 It
 promises it will maintain “a variety of physical, electronic, and procedural safeguards to protect
 [its’ customers] information from unauthorized access by third parties, and further promises that
 information “about [its] former customers and about individuals who have obtained quotes from

 [GEICO] is safeguarded to the same extent as information about [GEICO’s] current
 policyholders.”4 But its efforts to protect customers’ and other consumers sensitive information
 fall short of acceptable data security standards.
        5.     In a Notice of Data Breach dated April 9, 2021 (the “Notice”), GEICO informed
 affected victims “of an incident that affected the confidentiality” of their personal information,
 and that the incident occurred between November 24, 2020 and March 1, 2021. According to the
 Notice, unauthorized third parties accessed driver’s license numbers through GEICO’s online
 sales system and that the information “could be used to fraudulently apply for unemployment


 2
   GEICO, Privacy Policy, Geico Respects Your Privacy,
 https://media.geico.com/legal/privacy_policy.htm (last visited May 6, 2021).
 3
   Id.
 4
   Id.

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 benefits” under the victims’ names. The Notice further instructed those affected to review any
 mailings they receive from their state’s unemployment agency/department and to contact the

 agency/department if there is any chance fraud is being committed.
        6.     While the Notice indicated that GEICO secured the affected website “as soon as it
 became aware of the issue” and that it has implemented additional security enhancement to help
 prevent future fraud and illegal activities on its website, unfortunately for Plaintiff and class
 members, the damage is already done.
        7.     Plaintiff Viscardi and numerous other class members received the Notice, and their
 sensitive driver’s license numbers are already exposed to criminals. Hackers harvest driver’s
 license numbers because they are highly valuable pieces of personal information. A driver’s
 license can be a critical part of a fraudulent, synthetic identity, with reports indicating that the
 going rate for a stolen identity is about $1,200 on the dark web, and that a stolen or forged driver’s
 license, alone, can sell for around $200.5
        8.     GEICO not only failed to provide the level of data protection that it promised, but
 its data privacy and security measures fell well short of acceptable industry standards, thus

 exposing customers’ and other consumers’ sensitive personal information to an increased risk of
 misuse by unauthorized third parties (i.e., fraud and identity theft).
        9.     As a result of Defendants’ conduct and the resulting Data Breach, Plaintiff’s and
 class members’ privacy has been invaded, their sensitive drivers’ license information is now in
 the hands of criminals, and they face a substantially increased risk of identity theft and fraud.
 Accordingly, these individuals now must take immediate and time-consuming action to protect
 themselves from identity theft and fraud.




 5
  Lee Mathews, Hackers Stole Customers’ License Numbers From Geico In Months-Long
 Breach, FORBES (Apr. 20, 2021, 11:57 A.M. EDT),
 https://www.forbes.com/sites/leemathews/2021/04/20/hackers-stole-customers-license-
 numbers-from-geico-in-months-long-breach/?sh=146576a68658 (last visited May 6, 2021).


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         10.   Plaintiff, on behalf of himself and the Class, seeks remedies, including monetary
 damages and injunctive relief, for GEICO’s negligence, negligence per se, breach of implied

 contracts, invasion of privacy, and violations of New York’s consumer protection law.
                                            PARTIES
         11.   Plaintiff Michael Viscardi is a citizen of the state of New York and resides in
 Holtsville, New York. On or about April 9, 2021, GEICO sent, and Plaintiff Viscardi
 subsequently received, a letter to Plaintiff confirming that he was impacted by the Data Breach;
 that his driver’s license number was exposed as part of the breach; and that fraudsters may use
 that stolen information in connection with applying for fraudulent unemployment benefits in his
 name.
         12.   Defendants GEICO Casualty Company, GEICO Indemnity Company, GEICO
 General Insurance Company, and Government Employees Insurance Company (collectively
 “GEICO”) are Maryland corporations with their principal places of business in Chevy Chase,
 Maryland. GEICO is an insurance company and wholly owned subsidiary of Berkshire
 Hathaway, Inc., and it is authorized to conduct business in the State of New York, with corporate

 headquarters located at Chevy Chase, Maryland. GEICO is one of the largest auto insurance
 companies in the United States, boasting assets of more than $32 billion.6

                                  JURISDICTION AND VENUE
         13.   This Court has subject matter jurisdiction over this action pursuant to the Class
 Action Fairness Act of 2005, 28 U.S.C. § 1332 (d), because the matter in controversy, exclusive
 of interest and costs, exceeds the sum or value of five million dollars ($5,000,000.00), is a class
 action involving 100 or more class members, and because Plaintiff and Defendants are citizens
 of different states. This Court has supplemental jurisdiction over the state law claims pursuant to
 28 U.S.C. § 1367.


 6
  U.S. SEC. AND EXCH. COMM’N., FORM 10-K, FORM 10-K (Dec. 31, 2019),
 https://www.berkshirehathaway.com/2019ar/201910-k.pdf (last visited May 6, 2021).


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         14.   The Court has personal jurisdiction over Defendants because Defendants conduct
 significant business in the State of New York, thus availing themselves to New York’s markets

 by selling auto insurance policies; have sufficient minimum contacts with the state of New York;
 and a substantial part of the conduct giving rise to Plaintiff’s claims occurred in New York.
         15.   Venue properly lies in this judicial district pursuant to 28 U.S.C. § 1391 because,
 inter alia, a substantial part of the events or omissions giving rise to the conduct alleged herein
 occurred in, were directed to, and/or emanated from this district; Defendants transact substantial
 business and have agents, in this district; a substantial part of the conduct giving rise to Plaintiff’s
 claims occurred in this judicial district; and because Plaintiff resides within this district.

                                    FACTUAL ALLEGATIONS
 A.    GEICO Collects Vast Amounts of Sensitive Personal Information From Consumers

         16.   GEICO primarily offers private passenger automobile insurance to individuals in
 all 50 states and the District of Columbia. GEICO also insures motorcycles, all-terrain vehicles,
 recreational vehicles, boats and small commercial fleets and acts as an agent for other insurers
 who offer homeowners, renters, life and identity management insurance to individuals who desire
 insurance coverages other than those offered by GEICO.7

         17.   GEICO collects and stores vast amounts of personal information from prospective
 clients, current and former customers, and other consumers, as part of its regular business
 practices. Included in this information is highly sensitive driver’s license numbers.
         18.   GEICO’s marketing is primarily through direct response methods in which
 applications for insurance are submitted directly to the companies via the Internet or by telephone,
 and to a lesser extent, through captive agents.
         19.   Competition for private passenger automobile insurance, which is substantial, tends
 to focus on price and level of customer service provided. GEICO’s cost-efficient direct response


 7
  U.S. SEC. AND EXCH. COMM’N., FORM 10-K (Dec. 31, 2019),
 https://www.berkshirehathaway.com/2019ar/201910-k.pdf (last visited May 6, 2021).


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 marketing methods and emphasis on customer satisfaction enable it to offer competitive rates and
 value to its customers.

 B.     GEICO Promised To Protect Its Customers’ and Other Consumers’ Personal
        Information From Unauthorized Disclosures
         20.    GEICO recognizes the importance of keeping consumers’ personal information

 private and repeatedly promises to keep that personal information confidential and protect it from
 unauthorized disclosure. For instance, the Privacy Policy appearing on GEICO’s primary website
 states, in relevant part:

                GEICO RESPECTS YOUR PRIVACY

                Protecting your privacy is very important to us. Customers have trusted us
                with their insurance needs since 1936, and we take our obligation to safeguard
                and secure personal information very seriously. We want you to understand
                how we protect your privacy and when we collect, use, and share
                information.8
                …
                CONFIDENTIALITY AND SECURITY
                We restrict access to your Information to employees who we have determined
                need it to provide products or services to you. We train our employees to
                safeguard customer information, and we require them to sign confidentiality
                and non-disclosure agreements. We maintain a variety of physical, electronic,
                and procedural safeguards to protect your Information from unauthorized
                access by third parties.

                Information about our former customers and about individuals who have
                obtained quotes from us is safeguarded to the same extent as Information
                about our current policyholders.

         21.    GEICO recognizes the particular significance of keeping consumers’ personal
 information obtained through its website and assured its customers transparency regarding how
 such information would be treated. GEICO’s Internet Security Policy appearing on GEICO’s
 primary website states:



 8
  GEICO, Privacy Policy, Geico Respects Your Privacy,
 https://media.geico.com/legal/privacy_policy.htm (last visited May 6, 2021).

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              GEICO SECURES YOUR DATA

              At GEICO.com, the privacy and security of customer data is as important to
              us as it is to you. Physical safeguards, procedural controls and data access
              controls protect your data from unauthorized access. We continually monitor
              our systems to prevent unauthorized attempts at intrusion.

              OUR SECURITY

              GEICO.com uses strong encryption (Transport Layer Security or TLS) for
              transmitting private information via the Internet. TLS uses a private key to
              encrypt data that is transferred over the TLS connection. This protocol is a
              standard used by many websites when you submit confidential information,
              such as credit card numbers and other personal data. TLS creates a secure
              connection between your browser and our server. Addresses of web pages
              using a TLS connection start with https: instead of http: and most browsers
              also display an icon of a closed padlock when you visit a page using TLS.

              In addition, the Policyholder Service Center portion of our website is only
              available to policyholders. It provides a private and secure environment to
              access policy and account information.9

 C.    The Data Breach and Its Impact

        22.   In early April 2021, GEICO notified consumers that their sensitive personal
 information—namely, driver’s license numbers—was compromised in a security breach of its
 online sales systems that occurred between November 24, 2020 and March 1, 2021. The Notice
 dated April 9, 2021 described the incident as follows:

              We recently determined that between November 24, 2020 and March 1, 2021,
              fraudsters used information about you – which they acquired elsewhere – to
              obtain unauthorized access to your driver’s license number through the online
              sales system on our website. We have reason to believe that this information
              could be used to fraudulently apply for unemployment benefits in your
              name.10




 9
  GEICO, Privacy Policy, Geico Secures Your Data,
 https://media.geico.com/legal/security_policy.htm (last visited May 6, 2021).
 10
    Geico, Notice of Data Breach (Apr. 9, 2021), STATE OF CALIFORNIA DPT. OF JUSTICE,
 https://oag.ca.gov/system/files/DL3_IndNoticeLttr_CA_Redacted.pdf (last visited May 6,
 2021).


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            23.   Plaintiff Viscardi received a Notice from GEICO, which was sent to him on or
 about April 9, 2021. In the Notice, GEICO confirmed that “[t]he data obtained by the fraudsters

 from GEICO was limited to your driver’s license number.”
            24.   While the Notice indicates that “as soon as it became aware of the issue” GEICO
 “secured the affected website and worked to identify the root cause of the incident”, the Notice
 does not provide the date of when GEICO learned of or “became aware of” the incident. Instead,
 the Notice merely states that GEICO “recently determined” of the incident and provides no
 further details.
            25.   The breach of GEICO’s system is not unexpected. On February 16, 2021 the New
 York State Department of Financial Services (“DFS”) issued an alert regarding an ongoing
 systemic and aggressive campaign to exploit security flaws in public-facing websites offering
 instant quotes—particularly those that offer instant online automobile insurance quotes—to steal
 non-public information (“NPI”).11 According to the alert, the unauthorized collection of NPI
 appears to be part of a growing fraud campaign targeting pandemic and unemployment benefits.
 DFS first became aware of the campaign when it received reports from two auto insurers in

 December 2020 and January 2021 that cybercriminals were targeting their websites that offer
 instant online automobile insurance quotes to steal unredacted driver’s license numbers.
            26.   Insurers’ instant online auto quoting websites are the primary entry point for
 cybercriminals to access customers’ NPI. As the industry has accelerated adoption of faster-
 quoting processes and tools, new vulnerabilities have opened.12 According to DFS, insurers
 noticed an unusually high number of abandoned quotes or quotes not pursued after the display of
 the estimated insurance premium. On the instant quote websites, “criminals entered valid name,
 any date of birth and any address information into the required fields” and “then displayed an


 11
    DEPARTMENT OF FINANCIAL SERVICES, Industry Letter (Feb. 16, 2021),
 https://www.dfs.ny.gov/industry_guidance/industry_letters/il20210216_cyber_fraud_alert#_edn
 1 (last visited May 6, 2021).
 12
      Id.


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 estimated insurance premium quote along with partial or redacted consumer NPI including a
 driver’s license number. The attackers captured the full, unredacted driver’s license numbers

 without going any further in the process and abandoned the quote.”13
            27.   In January 2021, DFS alerted approximately a dozen entities maintaining such
 websites that they were likely targets of hackers looking to gain access to New Yorkers’ NPI,
 specifically driver’s license numbers. Following the alert, six more insurers apparently reported
 to DFS the malicious targeting of their websites—two of which insurers reported that the
 attackers failed to gain access to NPI and four of which reported that the attackers did gain access
 to NPI or that their investigation was still ongoing. Neither the websites affected, nor the insurers
 were named in the alert.
            28.   The increase in interest in driver’s license numbers is, in part, a product of the
 changes brought on by the Covid-19 pandemic, as various types of financial transactions that
 used to exclusively be conducted in person are transferred online. Some states are also allowing
 residents to use expired driver’s licenses for various purposes for an extended period, due to
 difficulty in securing the in-person DMV appointments necessary to renew them.14

            29.   Unsurprisingly, fraudulent unemployment claims have spiked during the pandemic,
 as more money has become available to displaced workers and the requirements for filing have
 eased. Many states have paid out tens of millions of dollars to scammers, a phenomenon largely
 driven by the use of stolen personal information. Hackers have been caught not just using
 sensitive personal data for these fraudulent unemployment claims, but also hacking into existing
 unemployment accounts to change bank payment information.15

 13
    DEPARTMENT OF FINANCIAL SERVICES, Industry Letter (Feb. 16, 2021),
 https://www.dfs.ny.gov/industry_guidance/industry_letters/il20210216_cyber_fraud_alert#_edn
 1 (last visited May 6, 2021).
 14
    CPO MAGAZINE, Geico Data Breach Leaks Driver’s License Numbers, Advises Customers to
 Watch Out for Fraudulent Unemployment Claims, https://www.cpomagazine.com/cyber-
 security/geico-data-breach-leaks-drivers-license-numbers-advises-customers-to-watch-out-for-
 fraudulent-unemployment-claims/ (last visited May 6, 2021).
 15
      Id.


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         30.     The United States Department of Labor estimates that pre-pandemic fraudulent
  unemployment claims accounted for about 10% of all filings.16 A normal yearly cost for

  fraudulent unemployment claims is about $3 billion per year in fraud; recent reports indicate that
  that number ballooned to $200 billion during the pandemic. Fraudulent first-time claims drove
  quite a bit of this activity, but experts expect the problem to persist even as most Americans head
  back to work. Some will fail to notify the state unemployment office of their change in
  employment status, creating an opening for scammers.
         31.     GEICO knew or should have known that its website was a likely target of
  cybercriminals looking to gain access to customers’ driver’s license numbers in order to use that
  information to commit unemployment benefits fraud, among other fraud and identity theft.
         32.     GEICO failed to assess reasonably foreseeable internal and external risks to the
  security, confidentiality, and integrity of consumers’ personal information, and failed to
  implement basic safeguards to protect the security, confidentiality, and integrity of that
  information.

  D.    It is Well Established That Security Breaches Lead to Identity Theft
         33.     The actual extent, scope and impact of the Data Breach on GEICO’s customers

  remains uncertain. Nevertheless, the harm caused to Plaintiff and class members by the Data Breach
  is already apparent. Criminals now possess Plaintiff’s and class members’ driver’s license numbers,
  and their only purpose is to monetize that data by selling it on the dark web or using it to commit
  other fraud.
         34.     Defendants had a duty to keep Plaintiff’s and class members’ personal information
  confidential and to protect it from unauthorized disclosures. Plaintiff and class members provided
  their personal information to GEICO with the understanding that it would comply with its
  obligations to keep such information confidential and secure from unauthorized disclosures.

  16
    Megan DeMatteo, Unemployment fraud costs victims $200 billion annually in the U.S. –
  here’s how to protect yourself, CNBC (Apr. 27, 2021), https://www.cnbc.com/select/how-to-
  protect-yourself-from-unemployment-fraud/ (last visited May 6, 2021).


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            35.   Defendants’ data security obligations were particularly important given the
  substantial increase in data breaches in recent years, which are widely known to the public and to

  anyone in Defendants’ industry.
            36.   Data breaches are by no means new and they should not be unexpected. These types
  of attacks should be anticipated by companies that store sensitive and personally identifying
  information, and these companies must ensure that data privacy and security is adequate to protect
  against and prevent known attacks.
            37.   It is well known amongst companies that store sensitive personally identifying
  information that sensitive information—like driver’s license numbers—is valuable and
  frequently targeted by criminals.
            38.   Identity theft victims are frequently required to spend many hours and large
  amounts of money repairing the impact to their credit. Identity thieves use stolen personal
  information for a variety of crimes, including credit card fraud, tax fraud, phone or utilities fraud,
  and bank/finance fraud.
            39.   There may be a time lag between when sensitive personal information is stolen and

  when it is used. According to the GAO Report:

                  [L]aw enforcement officials told us that in some cases, stolen data may be
                  held for up to a year or more before being used to commit identity theft.
                  Further, once stolen data have been sold or posted on the Web, fraudulent
                  use of that information may continue for years. As a result, studies that
                  attempt to measure the harm resulting from data breaches cannot necessarily
                  rule out all future harm.17
            40.   With access to an individual’s sensitive information, criminals can do more than
  just empty a victim’s bank account—they can also commit all manner of fraud, including:
  obtaining a driver’s license or official identification card in the victim’s name but with the thief’s
  picture; using the victim’s name and SSN to obtain government benefits; or, filing a fraudulent
  tax return using the victim’s information. In addition, identity thieves may obtain a job using the


  17
       Id. at 29 (emphasis added).

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  victim’s SSN, rent a house, or receive medical services in the victim’s name, and may even give
  the victim’s personal information to police during an arrest, resulting in an arrest warrant being

  issued in the victim’s name.18
          41.    Sensitive personal information is such a valuable commodity to identity thieves that
  once the information has been compromised, criminals often trade the information on the dark
  web and the “cyber black-market” for years. As a result of recent large-scale data breaches,
  identity thieves and cyber criminals have openly posted stolen SSNs and other Personal
  Information directly on various illegal websites making the information publicly available, often
  for a price.
          42.    Driver’s license information has become extremely valuable to identity thieves.19
  For example, a fake U.S. citizenship kit for sale: passport, SSN, driver’s license and birth
  certificate is offered on the dark web for 0.218 bitcoin (or $1,400 at the time) and a stolen/fake
  driver’s license (by U.S. state) for $200.20
          43.    Criminals are particularly interested in driver’s license numbers because of the
  value attached to this data. A driver’s license can be a critical part of a fraudulent, synthetic

  identity, with reports indicating that the going rate for a stolen identity is about $1,200 on the
  dark web, and that a stolen or forged driver’s license, alone, can sell for around $200.21




  18
    See FEDERAL TRADE COMMISSION, WARNING SIGNS OF IDENTITY THEFT,
  https://www.identitytheft.gov/Warning-Signs-of-Identity-Theft (last visited May 6, 2021)
  19
     IDENTITY THEFT RESOURCE CENTER, Can Someone Steal Your Identity From Your Driver’s
  License? https://www.idtheftcenter.org/can-someone-steal-your-identity-from-your-drivers-
  license/ (last visited May 6, 2021).
  20
     Daniel Shkedi, Heart of Darkness: Inside the Darknet Markets that Fuel Financial
  Cybercrime, BIOCATCH, https://www.biocatch.com/blog/financial-cybercrime-darknet-markets
  (last visited May 6, 2021).
  21
     Lee Mathews, Hackers Stole Customers’ License Numbers From Geico In Months-Long
  Breach, FORBES (Apr. 20, 2021, 11:57 A.M. EDT),
  https://www.forbes.com/sites/leemathews/2021/04/20/hackers-stole-customers-license-
  numbers-from-geico-in-months-long-breach/?sh=146576a68658 (last visited May 6, 2021).


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          44.    Despite the known risk of data breaches and the widespread publicity and industry
  alerts regarding other notable (similar) data breaches, Defendants failed to take reasonable steps

  to adequately protect GEICO’s systems from being breached, leaving GEICO customers exposed
  to risk of fraud and identity theft.
          45.    Defendants were, and at all relevant times have been, aware that the sensitive
  personal information GEICO handles and stores in connection with its services is highly sensitive.
  Because GEICO is a company that provides insurance services involving highly sensitive and
  identifying information, Defendants were aware of the importance of safeguarding that
  information and protecting its systems and products from security vulnerabilities.
          46.    Defendants were aware, or should have been aware, of regulatory and industry
  guidance regarding data security, and they were alerted to the risk associated with failing to ensure
  that GEICO’s systems were adequately secured.
          47.    Defendants permitted class members’ personal information to be compromised and
  disclosed to criminals by failing to take reasonable steps against an obvious threat.
          48.    Industry experts are clear that a data breach is indicative of data security failures.

  Indeed, industry-leading research and advisory firm Aite Group has identified that: “If your data
  was stolen through a data breach that means you were somewhere out of compliance” with
  payment industry data security standards.22
          49.    As a result of the events detailed herein, Plaintiff and class members suffered harm
  and loss of privacy, and will continue to suffer future harm, resulting from the Data Breach,
  including but not limited to: invasion of privacy; loss of privacy; loss of control over personal
  information and identities; fraud and identity theft; unreimbursed losses relating to fraud and
  identity theft; loss of value and loss of possession and privacy of personal information; harm
  resulting from damaged credit scores and information; loss of time and money preparing for and


  22
    Lisa Baertlein, Chipotle Says Hackers Hit Most Restaurants in Data Breach, REUTERS (May
  26, 2017), http://www.reuters.com/article/us-chipotle-cyber-idUSKBN18M2BY (last visited
  May 6, 2021).

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  resolving fraud and identity theft; loss of time and money obtaining protections against future
  identity theft; and other harm resulting from the unauthorized use or threat of unauthorized

  exposure of personal information.
           50.   As a result of the Data Breach, Plaintiff’s and class members’ privacy has been
  invaded, their driver’s license numbers are now in the hands of criminals, they face a substantially
  increased risk of identity theft and fraud, and they must take immediate and time-consuming
  action to protect themselves from such identity theft and fraud.
  E.      Plaintiff’s Experience
           51.   Plaintiff Michael Viscardi is a citizen of New York and resides in Holtsville, New
  York.
           52.   On or around February 14, 2021, Plaintiff received a letter from the New York
  Department of Labor informing him that he was eligible for Pandemic Unemployment
  Assistance.
           53.   On or around February 12, 2021, Plaintiff received another letter from the New
  York Department of Labor notifying him of a fraudulent claim for unemployment benefits made

  in his name.
           54.   On or around April 9, 2021, GEICO sent Plaintiff a letter notifying him that his
  Personal Information was impacted by the Data Breach. The letter stated that “between November
  24, 2020 and March 1, 20201, fraudsters used information about [Plaintiff] – which they acquired
  elsewhere – to obtain unauthorized access to [Plaintiff’s] driver’s license number through the
  online sales system on [GEICO’s] website.”
           55.   Plaintiff is self-employed and did not apply for unemployment benefits. Upon
  information and belief, Plaintiff’s personal information, i.e., his driver’s license number, was
  stolen during the Data Breach and was used to make a fraudulent claim for unemployment
  benefits in his name.
           56.   Plaintiff subsequently received a letter from his bank, informing him of an attempt

  to transfer funds from his joint bank account to an unauthorized account.

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          57.   Plaintiff has taken (and continues to take) considerable precautions to protect the
  unauthorized dissemination of his Personal Information. To date, he has spent approximately 15

  hours monitoring accounts and otherwise dealing with the fallout of the Data Breach.
  Unfortunately, as a result of GEICO’s failure to implement its promised and paid-for security
  practices, Plaintiff’s sensitive information was disseminated without his consent, has already
  been fraudulently used by unauthorized third parties, and the value of that information was
  quantifiably reduced.
          58.   As a result, Plaintiff suffered injury and/or damages, including but not limited to
  actual identity theft, time and expenses spent on credit monitoring and identity theft; time and
  expenses spent scrutinizing bank statements, credit card statements, and credit reports; time and
  expenses spent monitoring bank accounts for fraudulent activity; loss in value of his personal data
  and lost property in the form of his breached and compromised Personal Information.
  Additionally, as a result of the Data Breach, Plaintiff now faces a substantial risk that
  unauthorized third parties will misuse his Personal Information.
                                       CLASS ALLEGATIONS

          59.   Plaintiff brings this action on behalf of himself and the following Classes pursuant
  to Federal Rule of Civil Procedure 23(a) and (b):

                Nationwide Class
                All residents of the United States whose personally identifiable
                information was compromised in the GEICO Data Breach occurring in or
                around November 24, 2020 and March 1, 2021.

                New York Class
                All residents of New York whose personally identifiable information was
                compromised in the GEICO Data Breach occurring in or around November
                24, 2020 and March 1, 2021.

          60.   The above defined classes are collectively referred to as the “Class” or “Classes.”
  Plaintiff reserves the right to re-define the Class(es) prior to class certification. Plaintiff reserves
  the right to modify these class definitions as discovery in this action progresses.



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         61.    Excluded from the Class are Defendants and their affiliates, officers, directors,
  assigns, successors, and the Judge(s) assigned to this case.

         62.     Numerosity: While the precise number of class members has not yet been
  determined, members of the Classes are so numerous that their individual joinder is impracticable,
  as the proposed Classes appear to include many thousands of members who are geographically
  dispersed.
         63.     Typicality: Plaintiff’s claims are typical of class members’ claims. Plaintiff and
  all Class Members were injured through Defendants’ uniform misconduct, and Plaintiff’s claims
  are identical to the claims of the class members he seeks to represent. Accordingly, Plaintiff’s
  claims are typical of Class Members’ claims.
         64.     Adequacy: Plaintiff’s interests are aligned with the Classes he seeks to represent
  and Plaintiff has retained counsel with significant experience prosecuting complex class action
  cases, including cases involving alleged privacy and data security violations. Plaintiff and his
  counsel intend to prosecute this action vigorously. The Classes’ interests are well-represented by
  Plaintiff and undersigned counsel.

         65.    Superiority: A class action is the superior—and only realistic—mechanism to
  fairly and efficiently adjudicate Plaintiff’s and other class members’ claims. The injury suffered
  by each individual class member is relatively small in comparison to the burden and expense of
  individual prosecution of complex and expensive litigation. It would be very difficult if not
  impossible for class members individually to effectively redress Defendants’ wrongdoing. Even
  if class members could afford such individual litigation, the court system could not.
  Individualized litigation presents a potential for inconsistent or contradictory judgments.
  Individualized litigation increases the delay and expense to all parties, and to the court system,
  presented by the complex legal and factual issues of the case. By contrast, the class action device
  presents far fewer management difficulties and provides the benefits of single adjudication,
  economy of scale, and comprehensive supervision by a single court.

         66.     Commonality and Predominance: The following questions common to all class

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  members predominate over any potential questions affecting individual class members:
                  •   whether Defendants engaged in the wrongful conduct alleged herein;

                  •   whether Defendants’ data security practices and the vulnerabilities of GEICO’s
                      systems resulted in the disclosure of Plaintiff’s and other class members’
                      sensitive information;
                  •   whether Defendants violated privacy rights and invaded Plaintiff’s and class
                      members’ privacy;
                  •   whether Defendants were negligent or negligent per se in failing to protect
                      sensitive information of Plaintiff and other class members;
                  •   whether Defendants breached implied contracts with Plaintiff and class
                      members;
                  •   whether Defendants violated the New York GBL by failing to protect Plaintiff’s
                      and other class members’ sensitive information, and permitting the Data Breach
                      to occur; and
                  •   whether Plaintiff and class members are entitled to damages, equitable relief,

                      or other relief and, if so, in what amount.
            67.   Given that Defendants engaged in a common course of conduct as to Plaintiff and
  the Classes, similar or identical injuries and common law and statutory violations are involved,
  and common questions outweigh any potential individual questions.

                                         CAUSES OF ACTION

                                              COUNT I
                                             Negligence
                          (On Behalf of Plaintiff and the Nationwide Class,
                             or in the alternative, the New York Class)
            68.   Plaintiff realleges and incorporates all previous allegations as though fully set forth
  herein.
            69.   Plaintiff brings this cause of action individually and on behalf of the Nationwide



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  Class or, in the alternative, the New York Class.
         70.     GEICO required Plaintiff and class members to submit non-public personal

  information as part of its regular business practices.
         71.     Defendants were entrusted with, stored, and otherwise had access to the personal
  information of Plaintiff and class members.
         72.     Defendants knew, or should have known, of the risks inherent to storing the
  personal information of Plaintiff and class members, and to not ensuring that GEICO’s system
  were secure.
         73.     By collecting and storing this data, GEICO had a duty of care to use reasonable
  means to secure and safeguard this personal information, to prevent disclosure of the information,
  and to guard the information from theft. GEICO’s duty included a responsibility to implement a
  process by which it could detect a breach of its systems in a reasonably expeditious period of time
  and to give prompt notice in the case of a data breach.
         74.     GEICO owed a duty to Plaintiff and class members to provide security consistent
  with industry standards and the other requirements discussed herein, and to ensure that its systems

  and networks—and the personnel responsible for them—adequately protected its customers’
  personal information.
         75.     GEICO further assumed the duty to implement reasonable security measures as a
  result of its general conduct, internal policies and procedures, in which GEICO states, among
  other things, that GEICO.com’s “[p]hysical safeguards, procedural controls and data access
  controls protect your data from unauthorized access” and GEICO “continually monitor[s] our
  systems to prevent unauthorized attempts at intrusion.” Through these statements, GEICO
  specifically assumed the duty to comply with industry standards in protecting its customers’
  personal information.
         76.     GEICO’s duty to use reasonable security measures arose from the special
  relationship existing between it and the Plaintiff and class members. The special relationship

  arose because Plaintiff and class members entrusted GEICO with their personal information, as

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  part of the insurance process. Only GEICO was in a position to ensure that its systems were
  sufficient to protect against harm to Plaintiff and the Class resulting from a data breach.

            77.   Defendants breached their duties to Plaintiff and class members, and thus was
  negligent, by failing to adopt, implement, and maintain adequate security measures to safeguard
  Plaintiff’s and class members’ personal information, failing to adequately monitor the security of
  GEICO’s online payment system and website, allowing unauthorized access to Plaintiff’s and
  class members’ personal information, failing to recognize in a timely manner that Plaintiff’s and
  class members’ personal information had been compromised, and failing to warn Plaintiff and
  class members in a timely manner that their personal information had been compromised.
            78.   But for Defendants’ wrongful and negligent breach of their duties owed to Plaintiff
  and class members, Plaintiff and class members would not have been injured.
            79.   Defendants acted with wanton disregard for the security of Plaintiff’s and class
  members’ personal information.
            80.   The injury and harm suffered by Plaintiff and class members was the reasonably
  foreseeable result of Defendants’ breach of their duties. Defendants knew or should have known

  they were failing to meet their duties, and that Defendants’ breach would cause Plaintiff and class
  members to experience the foreseeable harms associated with the exposure of their personal
  information.
            81.   As a direct and proximate result of Defendants’ negligent conduct, Plaintiff and
  class members now face an increased risk of future harm.
            82.   Plaintiff and class members have suffered injury and are entitled to damages in an
  amount to be proven at trial.

                                             COUNT II
                                          Negligence Per Se
                          (On Behalf of Plaintiff and the Nationwide Class,
                             or in the alternative, the New York Class)
            83.   Plaintiff realleges and incorporates all previous allegations as though fully set forth
  herein.


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         84.     Plaintiff brings this cause of action individually and on behalf of the Nationwide
  Class or, in the alternative, the New York Class.

         85.     Pursuant to the Federal Trade Commission Act (15 U.S.C. § 45), GEICO had a duty
  to provide adequate data security practices in connection with safeguarding Plaintiff’s and class
  members’ personal information.
         86.     Defendants breached their duties to Plaintiff and class members under the Federal
  Trade Commission Act (15 U.S.C. § 45) and N.Y. Gen. Bus. Law § 349, among other statutes,
  by failing to provide fair, reasonable, or adequate data security in connection with the sale of
  insurance policies and use of the GEICO website in order to safeguard Plaintiff’s class members’
  personal information.
         87.     Defendants’ failure to comply with applicable laws and regulations constitutes
  negligence per se.
         88.     But for Defendants’ wrongful and negligent breach of their duties owed to Plaintiff
  and class members, Plaintiff and class members would not have been injured.
         89.     The injury and harm suffered by Plaintiff and class members was the reasonably

  foreseeable result of Defendants’ breach of their duties. Defendants knew or should have known
  that they were failing to meet their duties, and that Defendants’ breach would cause Plaintiff and
  class members to experience the foreseeable harms associated with the exposure of their Personal
  Information.
         90.     As a direct and proximate result of Defendants’ negligent conduct, Plaintiff and
  class members now face an increased risk of future harm. As a direct and proximate result of
  Defendants’ negligent conduct, Plaintiff and class members have suffered injury and are entitled
  to damages in an amount to be proven at trial.

                                             COUNT III
                                     Breach of Implied Contract
                          (On Behalf of Plaintiff and the Nationwide Class,
                             or in the alternative, the New York Class)
         91.     Plaintiff realleges and incorporates all previous allegations as though fully set forth


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  herein.
            92.   Plaintiff brings this cause of action individually and on behalf of the Nationwide

  Class or, in the alternative, the New York Class.
            93.   Defendants required prospective clients and other consumers to provide their
  personal information in connection with the sale of insurance policies and the use of GEICO’s
  online sale system, and as part of their regular business practices.
            94.   In connection with using the GEICO website or purchasing insurance policies from
  GEICO, Plaintiff and class members entered into implied contracts with GEICO.
            95.   Pursuant to these implied contracts, Plaintiff and class members provided
  GEICO with their personal information. In exchange, GEICO agreed, among other things:
  (1) to provide insurance services to Plaintiff and class members; (2) to take reasonable
  measures to protect the security and confidentiality of Plaintiff’s and class members’
  personal information; and (3) to protect Plaintiff’s and class members’ personal information
  in compliance with federal and state laws and regulations and industry standards.
            96.   The protection of personal information was a material term of the implied

  contracts between Plaintiff and class members, on the one hand, and GEICO, on the other
  hand. Had Plaintiff and class members known that GEICO would not adequately protect its
  customers’ and other consumers’ personal information they would not have provided their
  personal information to GEICO.
            97.   Plaintiff and class members performed their obligations under the implied
  contract when they provided GEICO with their personal information.
            98.   Necessarily implicit in the agreements between Plaintiff/class members and GEICO
  was GEICO’s obligation to take reasonable steps to secure and safeguard Plaintiff’s and class
  members’ personal information.
            99.   GEICO breached its obligations under its implied contracts with Plaintiff and class
  members by failing to implement and maintain reasonable security measures to protect their

  personal information.

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            100. GEICO’s breach of its obligations of inherent to its implied contracts with
  Plaintiff and class members, i.e., its obligations to utilize adequate data security and privacy

  measures, directly resulted in the Data Breach.
            101. The damages sustained by Plaintiff and class members as described above were the
  direct and proximate result of GEICO’s material breaches of its agreements.
            102. Plaintiff and other class members were damaged by GEICO’s breach of implied
  contracts because: (i) they paid for data security protection they did not receive; (ii) they face
  a substantially increased risk of identity theft—risks justifying expenditures for protective and
  remedial services for which they are entitled to compensation; (iii) their personal information was
  improperly disclosed to unauthorized individuals; (iv) the confidentiality of their personal
  information has been breached; (v) they were deprived of the value of their personal information,
  for which there is a well-established national and international market; (vi) they have suffered
  actual misuse of their personal information, and resulting fraud and identity theft; and/or (vii) they
  have lost time and money in connection with attempts to mitigate and remediate the effects of the
  Data Breach, including the increased risks of identity theft they face and will continue to face.

                                             COUNT IV
                            Violations of New York General Business Law
                                 N.Y. Gen. Bus. Law § 349 (“GBL”)
                           (On Behalf of Plaintiff and the New York Class)
            103. Plaintiff realleges and incorporates all previous allegations as though fully set forth
  herein.
            104. Plaintiff brings this cause of action on behalf of the New York Class.
            105. Section 349 of the New York GBL provides that “[d]eceptive acts or practices in
  the conduct of any business, trade or commerce or in the furnishing of any service in this state
  are hereby declared unlawful.” N.Y. Gen. Bus. Law § 349(a).
            106. Defendants, while operating in New York, engaged in deceptive acts and practices
  in the conduct of business, trade and commerce, and the furnishing of services, in violation of
  N.Y. Gen. Bus. Law § 349(a). This includes but is not limited to the following:


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                a.      failing to enact adequate privacy and security measures to protect Plaintiff’s
        and class members’ personal information from unauthorized disclosure, release, data

        breaches, and theft;
                b.      failing to take proper action following known security risks and prior
        cybersecurity incidents;
                c.      knowingly and fraudulently misrepresenting that Defendants would
        maintain adequate data privacy and security practices and procedures to safeguard personal
        information from unauthorized disclosure, release, data breaches, and theft;
                d.      omitting, suppressing, and concealing the inadequacy of Defendants’
        security protections;
                e.      knowingly and fraudulently misrepresenting that Defendants would comply
        with the requirements of relevant federal and state laws pertaining to the privacy and
        security of personal information, and
                f.      failing to disclose the Data Breach to the victims in a timely and accurate
        manner, in violation of the duties imposed by, inter alia, N.Y. Gen Bus. Law § 899-aa(2).

         107. As a direct and proximate result of Defendants’ practices, Plaintiff and other class
  members suffered injury and/or damages, including but not limited to actual misuse of their
  personal information, fraud, and identity theft; lost time and expenses related to monitoring their
  accounts for fraudulent activity; an increased, imminent risk of fraud and identity theft; and loss
  of value of their personal information.
         108. The above unfair and deceptive acts and practices and acts by Defendants were
  immoral, unethical, oppressive, and unscrupulous. These acts caused substantial injury to
  Plaintiff and other class members that they could not reasonably avoid, and which outweighed
  any benefits to consumers or to competition.
         109. Defendants knew or should have known that GEICO’s systems and data security
  practices were inadequate to safeguard personal information entrusted to it, and that risk of a data



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  breach was highly likely. Defendants’ actions in engaging in the above-named unfair practices
  and deceptive acts were negligent, knowing and willful.

            110. Plaintiff seeks relief under N.Y. Gen. Bus. Law § 349(h), including but not limited
  to actual damages (to be proven at trial), treble damages, statutory damages, injunctive relief,
  and/or attorney’s fees and costs.
            111.    Plaintiff and class members seek to enjoin such unlawful deceptive acts and
  practices described above. Each class member will be irreparably harmed unless the Court
  enjoins Defendants’ unlawful, deceptive actions in that Defendants will continue to fail to protect
  personal information entrusted to them, as detailed herein.
            112. Plaintiff and class members seek declaratory relief, restitution for monies
  wrongfully obtained, disgorgement of ill-gotten revenues and/or profits, injunctive relief
  prohibiting Defendants from continuing to disseminate its false and misleading statements, and
  other relief allowable under N.Y. Gen. Bus. Law § 349.

                                               COUNT V
                             Invasion of Privacy (Intrusion Upon Seclusion)
                            (On Behalf of Plaintiff and the Nationwide Class)
            113. Plaintiff realleges and incorporates all previous allegations as though fully set forth
  herein.
            114. Plaintiff and class members had a reasonable expectation of privacy in the personal
  information that Defendants disclosed without authorization.
            115. By failing to keep Plaintiff’s and class members’ personal information safe,
  knowingly utilizing unsecure systems, and disclosing personal information to unauthorized
  parties for unauthorized use, Defendants unlawfully invaded Plaintiff’s and class members’
  privacy by, inter alia:
                   a.   intruding into Plaintiff’s and class members’ private affairs in a manner that
                        would be highly offensive to a reasonable person; and
                   b.   invading Plaintiff’s and class members’ privacy by improperly using their



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                      personal information properly obtained for a specific purpose for another
                      purpose, or disclosing it to some third party;

                c.    failing to adequately secure their personal information from disclosure to
                      unauthorized persons;
                d.    enabling the disclosure of Plaintiff’s and class members’ personal information
                      without consent.
         116. Defendants knew, or acted with reckless disregard of the fact that, a reasonable
  person in Plaintiff’s and class members’ position would consider its actions highly offensive.
         117. Defendants knew that GEICO’s systems were vulnerable to data breaches prior to
  the Data Breach.
         118. Defendants invaded Plaintiff’s and Class Members’ right to privacy and intruded
  into Plaintiff’s and class members’ private affairs by disclosing their personal information to
  unauthorized persons without their informed, voluntary, affirmative, and clear consent.
         119. As a proximate result of such unauthorized disclosures, Plaintiff’s and class
  members’ reasonable expectations of privacy in their personal information was unduly frustrated

  and thwarted. Defendants’ conduct amounted to a serious invasion of Plaintiff’s and class
  members’ protected privacy interests.
         120. In failing to protect Plaintiff’s and class members’ personal information, and in
  disclosing Plaintiff’s and class members’ personal information, Defendants acted with malice and
  oppression and in conscious disregard of Plaintiff’s and class members’ rights to have such
  information kept confidential and private.
         121. Plaintiff seeks injunctive relief on behalf of the Class, restitution, and all other
  damages available under this Count.

                                      PRAYER FOR RELIEF
         Plaintiff, individually and on behalf of the Classes, by and through undersigned counsel,
  respectfully request that the Court grant the following relief:



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         A.     Certify this case as a class action pursuant to Fed. R. Civ. P. 23, and appoint
  Plaintiff as the class representative and undersigned counsel as class counsel;

         B.     Award Plaintiff and class members actual and statutory damages, punitive
  damages, and monetary damages to the maximum extent allowable;
         C.     Award declaratory and injunctive relief as permitted by law or equity to assure that
  class members have an effective remedy, including enjoining Defendants from continuing the
  unlawful practices as set forth above;
         D.     Award Plaintiff and class members pre-judgment and post-judgment interest to the
  maximum extent allowable;
         E.     Award Plaintiff and class members reasonable attorneys’ fees, costs, and expenses,
  as allowable; and
         F.     Award Plaintiff and Class Members such other favorable relief as allowable under
  law or at equity.

                                   JURY TRIAL DEMANDED
        Plaintiff hereby demands a trial by jury on all issues so triable.


  Dated: May 6, 2021                           Respectfully submitted,

                                                /s/ Tina Wolfson
                                                TINA WOLFSON
                                                twolfson@ahdootwolfson.com
                                                ROBERT R. AHDOOT*
                                                rahdoot@ahdootwolfson.com
                                                CHRISTOPHER STINER
                                                cstiner@ahdootwolfson.com
                                                AHDOOT & WOLFSON, PC
                                                2600 W. Olive Ave., Suite 500
                                                Burbank, CA 91505
                                                Tel: 310-474-9111
                                                Fax: 310-474-8585

                                                ANDREW W. FERICH*
                                                aferich@ahdootwolfson.com
                                                AHDOOT & WOLFSON, PC


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                                     201 King of Prussia Road, Suite 650
                                     Radnor, PA 19087
                                     Telephone: 310.474.9111
                                     Facsimile: 310.474.8585

                                     *pro hac vice to be filed

                                     Attorneys for Plaintiff and the Proposed Classes




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